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		OSCN Found Document:IN THE MATTER OF THE REINSTATEMENT OF ALBERT

					

				
  



				
					
					
						
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				IN THE MATTER OF THE REINSTATEMENT OF ALBERT2018 OK 61Case Number: SCBD-6612Decided: 07/17/2018THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2018 OK 61, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 

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In the Matter of the Reinstatement of James P. Albert to Membership in the Oklahoma Bar Association and to the Roll of Attorneys.




ORDER


The petitioner, James P. Albert voluntarily resigned from the Oklahoma Bar Association on February 10, 2016. On December 27, 2017, Albert petitioned this Court for reinstatement as a member of the Oklahoma Bar Association. On March 9, 2018, a hearing was held before the Trial Panel of the Professional Responsibility Tribunal and the tribunal recommended that the attorney be reinstated. Upon consideration of the matter, we find:

1) The petitioner has met all the procedural requirements necessary for reinstatement in the Oklahoma Bar Association as set out in Rule 11, Rules Governing Disciplinary Proceedings, 5 O.S. 2011, ch.1, app. 1-A.


2) The petitioner has established by clear and convincing evidence that he has not engaged in the unauthorized practice of law in the State of Oklahoma.

3) The petitioner has established by clear and convincing evidence that he possesses the competency and learning in the law required for reinstatement to the Oklahoma Bar Association.

4) The petitioner has established by clear and convincing evidence that he possesses the good moral character which would entitle her to be reinstated to the Oklahoma Bar Association.


IT IS THEREFORE ORDERED that the petition of James P. Albert for reinstatement be granted.

IT IS FURTHER ORDERED that Reinstatement is conditioned upon: 1) the payment of $595.27 in costs associated with these proceedings; and 2) the payment of dues for calendar year 2018. Costs and dues shall be paid within 30 days of the date of this order and reinstatement is conditioned upon such payment.

DONE BY ORDER OF THE SUPREME COURT THE 17th DAY OF July, 2018.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.







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